Case 8:17-cv-01738-JLS-KES Document 1 Filed 10/05/17 Page 1 of 5 Page ID #:1




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  8
  9                      UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 10
 11   ISAAC JONES
                           Plaintiff,
 12                                                 CIVIL ACTION NO. 8:17-CV-1738
 13                          v.
                                                               COMPLAINT
 14   ACCURATE BACKGROUND,
      INC.
 15                                                    DEMAND FOR JURY TRIAL
 16                         Defendant.
 17
 18
                                  PRELIMINARY STATEMENT
 19
            1.     This is an action for damages brought by an individual consumer,
 20
      Isaac Jones, against Defendant Accurate Background, Inc. for violations of the
 21
      Fair Credit Reporting Act (“FCRA”), 15 U.S.C. §§ 1681, et seq.
 22
                                     JURISDICTION AND VENUE
 23
            2.     Jurisdiction of this Court arises under 15 U.S.C. § 1681p and 28
 24
      U.S.C. §§ 1331 and 1337, and supplemental jurisdiction exists for the state law
 25
      claims pursuant to 28 U.S.C. § 1367.
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            3.     Venue lies in this district pursuant to 28 U.S.C. § 1391(b).
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                               COMPLAINT AND JURY DEMAND
Case 8:17-cv-01738-JLS-KES Document 1 Filed 10/05/17 Page 2 of 5 Page ID #:2




  1                                         PARTIES
  2           4.    Plaintiff Isaac Jones is an adult individual residing in Houston, TX.
  3           5.    Defendant Accurate Background, Inc., (“ABI”) is a consumer
  4   reporting agency that regularly conducts business in the Central District of
  5   California and which has its headquarters and a principal place of business
  6   located at 7515 Irvine Center Drive, Irvine, CA.
  7                                FACTUAL ALLEGATIONS
  8           6.    In or around November 2016, Plaintiff applied for a position with
  9   Amazon.com, Inc. (“Amazon”).
 10           7.    As part of his job application, Plaintiff signed a document
 11   purportedly authorizing Amazon to obtain a consumer report for employment
 12   purposes.
 13           8.    Amazon requested a consumer report from ABI, and ABI sold to
 14   Amazon a consumer report concerning the Plaintiff on or around November 28,
 15   2016.
 16           9.    The report furnished by ABI was for employment purposes.
 17           10.   This consumer report contained at least one item of information
 18   which was a matter of public record and of the type of information that was likely
 19   to have an adverse effect upon Plaintiff’s ability to obtain employment generally,
 20   and specifically with Amazon.
 21           11.   Defendant ABI has been reporting, and did here report, derogatory
 22   and inaccurate statements and information relating to Plaintiff and Plaintiff’s
 23   criminal history and record to third parties (“inaccurate information”).
 24           12.   The inaccurate information includes, but is not limited to, a record of
 25   a felony criminal conviction. Plaintiff is not a convicted felon.
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                                COMPLAINT AND JURY DEMAND
Case 8:17-cv-01738-JLS-KES Document 1 Filed 10/05/17 Page 3 of 5 Page ID #:3




  1         13.    The inaccurate information grossly disparages the Plaintiff and
  2   portrays him as a convicted felon. There is perhaps no greater error that a
  3   consumer reporting agency can make.
  4         14.    The derogatory inaccuracies appear to be caused by a misreading of
  5   public records.    Any rudimentary inspection of the data would reveal the
  6   inaccuracies. Defendant obviously failed to employ such a procedure.
  7         15.    Plaintiff received no notification from ABI that public record
  8   information had been reported about him, and ABI did not notify Plaintiff of the
  9   name and address of the person to whom such information was reported.
 10         16.    Upon information and belief, the Plaintiff alleges that ABI never sent
 11   such a notice letter “at the time” it furnished an employment consumer report
 12   containing derogatory public record information about him, as required by 15
 13   U.S.C § 1681k(a)(1).
 14         17.    Additionally, ABI does not maintain strict procedures designed to
 15   ensure that such information is complete and up to date, as required by 15 U.S.C.
 16   § 1681k(a)(2) and Cal. Civ. Code § 1785.18(b). If ABI had maintained such
 17   procedures it would not have falsely reported a felony criminal conviction when in
 18   fact, Plaintiff has no such conviction.
 19         18.    Plaintiff was subsequently denied or delayed employment at Amazon
 20   and Plaintiff was informed by Amazon that the basis for this delay was the
 21   inaccurate criminal information that appears on Plaintiff’s ABI consumer report
 22   and that the inaccurate information was a substantial factor for the delay.
 23         19.    Here, Amazon used the ABI report in its determination about
 24   Plaintiff’s eligibility for employment and on or around December 22, 2016,
 25   Amazon deemed that the Plaintiff was ineligible for his desired position due to the
 26   inaccurate information contained in the report.
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                               COMPLAINT AND JURY DEMAND
Case 8:17-cv-01738-JLS-KES Document 1 Filed 10/05/17 Page 4 of 5 Page ID #:4




  1         20.    As a result of Defendant’s conduct, Plaintiff has suffered actual
  2   damages in the form of lost or delayed employment opportunities, harm to
  3   reputation, and emotional distress, including humiliation and embarrassment.
  4         21.    At all times pertinent hereto, Defendant was acting by and through its
  5   agents, servants and/or employees who were acting within the course and scope of
  6   their agency or employment, and under the direct supervision and control of the
  7   Defendant herein.
  8         22.    At all times pertinent hereto, the conduct of the Defendant, as well as
  9   that of its agents, servants and/or employees, was intentional, willful, reckless, and
 10   in grossly negligent disregard for federal law and the rights of the Plaintiff herein.
 11                        COUNT I – VIOLATIONS OF THE FCRA
 12         23.    Plaintiff incorporates the foregoing paragraphs as though the same
 13   were set forth at length herein.
 14         24.    At all times pertinent hereto, ABI was a “person” and a “consumer
 15   reporting agency” and a “reseller” as those terms are defined by 15 U.S.C. §
 16   1681a(b) and § 1681a(f), respectively.
 17         25.    At all times pertinent hereto, Plaintiff was a “consumer” as that term
 18   is defined by 15 U.S.C. § 1681a(c).
 19         26.    At all times pertinent hereto, the above-mentioned credit reports
 20   were “consumer reports” as that term is defined by 15 U.S.C. § 1681a(d).
 21         27.    Pursuant to 15 U.S.C. § 1681n and 15 U.S.C. § 1681o, ABI is liable
 22   to the Plaintiff for willfully and negligently failing to comply with the
 23   requirements imposed on a consumer reporting agency of information pursuant to
 24   15 U.S.C. § 1681e(b) and 1681k(a).
 25         28.    The conduct of Defendant was a direct and proximate cause, as well
 26   as a substantial factor, in bringing about the serious injuries, actual damages and
 27   harm to the Plaintiff that are outlined more fully above and, as a result, Defendant
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                               COMPLAINT AND JURY DEMAND
Case 8:17-cv-01738-JLS-KES Document 1 Filed 10/05/17 Page 5 of 5 Page ID #:5




  1   is liable to the Plaintiff for the full amount of statutory, actual, and punitive
  2   damages, along with the attorney’s fees and the costs of litigation, as well as such
  3   further relief, as may be permitted by law.
  4                                  JURY TRIAL DEMAND
  5         29.    Plaintiff demands trial by jury on all issues so triable.
  6                                  PRAYER FOR RELIEF
  7         WHEREFORE, Plaintiff respectfully prays that relief be granted as
  8   follows:
  9         (a)    Actual damages;
 10         (b)    Statutory damages;
 11         (c)    Punitive damages;
 12         (d)    Costs and reasonable attorney’s fees; and
 13         (e)    Such other and further relief as may be just and proper.
 14
 15                                                  Respectfully Submitted,
 16                                                  TATAR LAW FIRM, APC
 17
 18                                           BY: _________________________
 19                                                  Stephanie Tatar
 20                                                  Attorney for Plaintiff
 21   DATE: 10-5-17
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                               COMPLAINT AND JURY DEMAND
